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LAW OFFICE OF GREGORY JAVARDIAN, LLC                             Hearing Date: July 6, 2021, at
BY: MARY F. KENNEDY, ESQUIRE                                     11:00 am in Courtroom 4, United
ID# 77149                                                        States Bankruptcy Court, 900
1310 Industrial Blvd.                                            Market Street, Philadelphia, PA
1st Floor, Suite 101                                             19107
Southampton, PA 18966
(215) 942-9690
Attorney for Citizens Bank, N.A. f/k/a RBS Citizens, N.A.

                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                         Chapter 13 Proceeding
         Yolanda Warren
                                               20-11732 AMC
                Debtor(s)

  MOTION OF CITIZENS BANK, N.A. F/K/A RBS CITIZENS, N.A. FOR RELIEF OF
                     FROM THE AUTOMATIC STAY

         AND NOW, comes secured Creditor, Citizens Bank, N.A. f/k/a RBS Citizens, N.A.
(Movant) by and through its counsel, Mary F. Kennedy, and files this Motion to obtain an order
for Relief from the Automatic Stay due to lack of equity in debtor(s) property and debtor(s)
failure to provide Movant with adequate protection of its interest in the property which is the
basis of the creditor’s security.


         1. On or about March 20, 2020, Debtor(s) filed a Chapter 13 Bankruptcy Petition.
         2. On February 28, 2003, the debtor executed a Mortgage and Note to Movant and or
            Movant’s assignor in the amount of $111,450.00 and secured by the property located
            at 2716 Welsh Road, Philadelphia, PA 19152, referred to as the “property.” The said
            Mortgage was recorded in the Philadelphia County Recorder of Deeds Office on
            March 5, 2003, at instrument no. 50625324. The Mortgage was assigned to Movant
            via an Assignment of Mortgage recorded in the Philadelphia County Recorder of
            Deeds Office on September 2, 2020, at instrument no.53711852. (See Exhibit “A”
            attached).
         3. On July 30, 2020 Debtor and Movant entered into a Loan Modification Agreement.
            (See Exhibit “B” attached.)



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       4. The debtor is presently in arrears post-petition for three (3) months, April 1, 2021 to
           June 1, 2021. The total arrears including $1,238.00 for attorney fees and costs is
           $2,634.41.
       5. Movant wishes to have the automatic stay terminated to permit Movant to complete
           foreclosure on its mortgage.
       6. Pursuant to 11 U.S.C.A. section 362 (d) (1), cause exists to granted Movant relief
           from the stay.


       WHEREFORE, Movant respectfully requests this Honorable Court ORDER:
       That Relief from the Automatic Stay be granted to Citizens Bank, N.A. f/k/a RBS
Citizens, N.A. to proceed with foreclosure action to obtain all other Relief available under Non-
Bankruptcy Law. That the relief granted by the Court will survive the conversion of this
bankruptcy case to a case under any other Chapter of the Bankruptcy Code. And that bankruptcy
Rule 4001(a)(3) is not applicable, and Movant is allowed to immediately proceed with
foreclosure and all other relief available under the non-Bankruptcy law. Furthermore, Movant
respectfully requests that reasonable attorney fees and costs associated with this Motion be
awarded to Movant.

                                             RESPECTFULLY SUBMITTED,



                                             /s/ MARY F. KENNEDY, ESQ.
       Dated: June 7, 2021




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